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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                              Chapter 11

AMYRIS, INC., et al.,                                               Case No. 23-11131 (TMH)

                                   Debtors.1                        (Jointly Administered)

                                                                    Re: Docket Nos. 1002 & 1008

                                                         Objection Deadline: January 5, 2024 at 5:00 p.m. (ET)
                                                             Hearing Date: January 9, 2024 at 11:00 a.m. (ET)

NOTICE OF HEARING REGARDING DEBTORS’ MOTION FOR ENTRY OF ORDER
  APPROVING STIPULATION BETWEEN DEBTORS AND JPMORGAN CHASE
   BANK, N.A. (I) AUTHORIZING DEBTORS TO (A) SUBMIT APPLICATION
        AND AGREEMENT FOR ISSUANCE OF LETTER OF CREDIT,
    AND (B) OBTAIN CREDIT UNDER LETTER OF CREDIT AGREEMENT
   SECURED BY ASSIGNMENT OF CASH SECURITY, AND (II) MODIFYING
     THE AUTOMATIC STAY TO ALLOW APPLICATION OF ASSIGNED
   CASH SECURITY UNDER TERMS OF LETTER OF CREDIT AGREEMENT

                   PLEASE TAKE NOTICE that on December 22, 2023, the above-captioned

debtors and debtors in possession (collectively, the “Debtors”) filed the Debtors’ Motion for

Entry of Order Approving Stipulation Between Debtors and JPMorgan Chase Bank, N.A. (I)

Authorizing Debtors to (A) Submit Application and Agreement for Issuance of Letter of Credit,

and (B) Obtain Credit Under Letter of Credit Agreement Secured By Assignment of Cash

Security, and (II) Modifying the Automatic Stay to Allow Application of Assigned Cash Security

Under Terms of Letter of Credit Agreement (the “Motion”) [Docket No. 1002] with the United

States Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd Floor, Wilmington,




1        A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
100, Emeryville, CA 94608.




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Delaware 19801 (the “Bankruptcy Court”). A copy of the Motion was previously served upon

you.

                   PLEASE TAKE FURTHER NOTICE that on December 27, 2023, the

Bankruptcy Court entered the Order Shortening Notice Period and Scheduling Hearing with

Respect to the Debtors’ Motion for Entry of Order Approving Stipulation Between Debtors and

JPMorgan Chase Bank, N.A. (I) Authorizing Debtors to (A) Submit Application and Agreement

for Issuance of Letter of Credit, and (B) Obtain Credit Under Letter of Credit Agreement

Secured By Assignment of Cash Security, and (II) Modifying the Automatic Stay to Allow

Application of Assigned Cash Security Under Terms of Letter of Credit Agreement (the “Order”)

[Docket No. 1008], attached hereto as Exhibit 1.

                   PLEASE TAKE FURTHER NOTICE that any response or objection to the

Motion must be filed with the Bankruptcy Court on or before January 5, 2024 at 5:00 p.m.

prevailing Eastern Time.

                   PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon: (a) the Office of the U.S. Trustee for the District

of Delaware, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware, 19801, Attn:

John Schanne, Esq. (John.Schanne@usdoj.gov); (b) counsel to the Debtors, Pachulski Stang

Ziehl & Jones LLP, 919 N. Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19899-

8705 (Courier 19801), Attn: James E. O’Neill (joneill@pszjlaw.com), Jason H. Rosell

(jrosell@pszjlaw.com), and Steven W. Golden (sgolden@pszjlaw.com); (c) counsel to the

Official Committee of Unsecured Creditors, (i) White & Case LLP, 111 South Wacker Drive,

Suite 5100, Chicago, IL 60606, Attn: Gregory F. Pesce, Esq. (gregory.pesce@whitecase.com)

and Andrew F. O’Neill, Esq. (aoneill@whitecase.com), and (ii) White & Case LLP, 1221




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Avenue       of     the    Americas,   New    York,       NY   10020,   Attn:     John   Ramirez,   Esq.

(john.ramirez@whitecase.com) and Andrea Kropp, Esq. (andrea.kropp@whitecase.com); (d) co-

counsel to the Official Committee of Unsecured Creditors, Potter Anderson & Corroon LLP,

1313 North Market Street, 6th Floor, Wilmington, DE 19801, Attn: Christopher M. Samis

(csamis@potteranderson.com), Katelin A. Morales (kmorales@potteranderson.com), and

Sameen Rizvi, Esq. (srizvi@potteranderson.com); (e) counsel to the DIP Lenders, DIP Agent,

and the Foris Prepetition Secured Lenders, Goodwin Procter LLP, 620 Eighth Avenue, New

York, NY 10018, Attn:            Michael H. Goldstein, Esq. (mgoldstein@goodwinlaw.com) and

Alexander J. Nicas, Esq. (anicas@goodwinlaw.com); and (f) co-counsel to the DIP Lenders, the

DIP Agent, and the Foris Prepetition Secured Lenders, Troutman Pepper Hamilton Sanders LLP,

Hercules Plaza, Suite 5100, 1313 N. Market Street, P.O. Box 1709, Wilmington, DE 19899,

Attn: David M. Fournier, Esq. (david.fournier@troutman.com).

                   PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

                   PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

APPROVAL OF THE MOTION WILL BE HELD ON JANUARY 9, 2024 AT 11:00 A.M.

PREVAILING EASTERN TIME BEFORE THE HONORABLE THOMAS M. HORAN,

UNITED STATES BANKRUPTCY JUDGE, VIA ZOOM ONLY.




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Dated: December 27, 2023                  PACHULSKI STANG ZIEHL & JONES LLP

                                          /s/ James E. O’Neill
                                          Richard M. Pachulski (admitted pro hac vice)
                                          Debra I. Grassgreen (admitted pro hac vice)
                                          James E. O’Neill (DE Bar No. 4042)
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                                          Counsel to the Debtors and Debtors in Possession




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